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                     Share of New Apps Published Worldwide in Google Play to Which Service Fees Apply

             40%




             30%
Percentage




             20%




             10%




             0%




  Note:
  “Share of New Apps Published Worldwide in Google Play to Which Service Fees Apply” is calculated using the App Catalog data. It is the sum of all new apps
  published in Google Play to which service fees apply within a given quarter, divided by the sum of all new apps published in that quarter. Apps to which service fees
  apply monetize through at least one of initial download fees, in-app purchases, or in-app subscriptions.

  Sources: “App Catalog Data,” GOOG-PLAY-001507601; GOOG-PLAY-001507602.



                                              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            EXHIBIT 7095
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